      Case 4:24-cv-04613-JST          Document 19      Filed 01/14/25     Page 1 of 2



 1   ZIMMERMAN REED LLP
 2   Caleb Marker (SBN 269721)
     Email: caleb.marker@zimmreed.com
 3   6420 Wilshire Blvd., Suite 1080
     Los Angeles, CA 90048
 4   Telephone: (877) 500-8780
     Facsimile: (877) 500-8781
 5

 6   ZIMMERMAN REED LLP
     Michael J. Laird (MN# 398436)
 7   1100 IDS Center, 80 South 8th St.
     Minneapolis, MN 55402
 8   Telephone: (612) 341-0400
     Facsimile: (612) 341-0844
 9
     Attorneys for Plaintiff and the Class
10

11                          IN THE UNITED STATES DISTRICT COURT
12
                              NORTHERN DISTRICT OF CALIFORNIA
13

14
      J.G., individually and on behalf of all others      Case No. 4:24-cv-04613-JST
15    similarly situated,
                                                          Assigned to: Judge Jon S. Tigar
16                                   Plaintiffs,

17            v.                                          NOTICE OF VOLUNTARY DISMISSAL

18    THE COOPER COMPANIES, INC.,                         Hearing Date and Time:
      COOPERSURGICAL, INC.; and DOES 1-10,                Courtroom 4 – 3rd Floor
19    inclusive,                                          Complaint Filed: July 30, 2024

20                                   Defendants.

21

22                              NOTICE OF VOLUNTARY DISMISSAL
23          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff J.G. hereby gives
24   notice that this action is voluntarily dismissed. Defendants The Cooper Companies, Inc. and
25   CooperSurgical, Inc. (collectively, “Defendants”) have not served an answer or motion for
26   summary judgment in this action and Plaintiff has not previously dismissed any federal- or state-
27   court action based on or including the same claim. Therefore, under Federal Rule Civ. P.
28
                                                                                                   1
      Case 4:24-cv-04613-JST          Document 19       Filed 01/14/25       Page 2 of 2



 1   41(a)(1)(B), the dismissal of Plaintiff’s Complaint is without prejudice.

 2   Dated: January 14, 2025                       Respectfully submitted,
 3
                                                   ZIMMERMAN REED LLP
 4

 5                                                 s/ Michael J. Laird
                                                   Michael J. Laird (pro hac vice)
 6                                                 1100 IDS Center, 80 South 8th Street
                                                   Minneapolis, MN 55402
 7                                                 Telephone: (612) 341-0400
                                                   Facsimile: (612) 341-0844
 8                                                 Michael.Laird@zimmreed.com
 9
                                                   Caleb Marker (SBN 269721)
10                                                 ZIMMERMAN REED LLP
                                                   6420 Wilshire Blvd., Suite 1080
11                                                 Los Angeles, CA 90048
                                                   Telephone: (877) 500-8780
12
                                                   Facsimile: (877) 500-8781
13                                                 caleb.marker@zimmreed.com

14                                                 Attorneys for Plaintiffs and the Class

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                                            2
